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                               UNITED STATES DISTRICT
                              COURT FOR THE DISTRICT OF
                                     COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :        CASE NO. 21-CR-268 (CJN)
        v.                                    :
                                              :
 JEFFREY MCKELLOP,                            :
                                              :
        Defendant.                            :


                JOINT MOTION REQUESTING STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Jeffrey McKellop, through counsel, respectfully request a

status conference.

       The defense counsel provided undersigned counsel for the government information that

leads the government to believe that the upcoming trial date of December 11, 2023, is in jeopardy.

Thus, a hearing is necessary. We respectfully request the Court schedule a status conference (via

video conference for the convenience of defense counsel) at its earliest convenience.


                                                      Respectfully submitted,

DATED: November 6, 2023                               MATTHEW M. GRAVES
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